                                APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of          District:                                       District Case No.:
 appeal filed: 03/17/22
                                            Middle District of North Carolina               1:18CV1046
 ✔ First NOA in Case
 ___                                       Division:                                       4CCA No(s). for any prior NOA:
 ___ Subsequent NOA-same party             GREENSBORO
 ___ Subsequent NOA-new party              Caption:                                        4CCA Case Manager:
 ___ Subsequent NOA-cross appeal
                                          HUI MINN LEE v. MARKET
 ___ Paper ROA      ___ Paper Supp.       AMERICA, INC.
  Vols: _______________________
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness                 ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal          ___ No fee required (USA appeal)
 ___ Recalcitrant witness
                                           ___ Appeal fees paid in full
 ___ In custody
                                           Criminal Cases:
 ___ On bond
 ___ On probation                          ___ District court granted & did not revoke CJA status (continues on appeal)
 Defendant Address-Criminal Case:          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
                                           ___ District court never granted CJA status (must pay fee or apply to 4CCA)
                                           Civil, Habeas & 2255 Cases:
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
 District Judge:                           ___ Court never granted IFP status (must pay fee or apply to District Court)

  WILLIAM L. OSTEEN, JR.                   PLRA Cases:
                                           ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
 Court Reporter (list all):
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
                                           Sealed Status (check all that apply):
                                           ____ Portions of record under seal
                                           ____ Entire record under seal
                                     ____ Party names under seal
 Coordinator:                        ____ Docket under seal
 Keah Marsh
 Record Status for Pro Se Appeals (check any applicable):      Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record transmitted                              ___ Assembled electronic record available if requested
 ___ Additional sealed record emailed to 4cca-filing                      ___ Additional sealed record available if requested
 ___ Paper record or supplement shipped to 4CCA                           ___ Paper record or supplement available if requested
 ___
  ✔ No in-court hearings held                                             ___ No in-court hearings held
 ___ In-court hearings held – all transcript on file                      ___ In-court hearings held – all transcript on file
 ___ In-court hearings held – all transcript not on file                  ___ In-court hearings held – all transcript not on file
 ___ Other:                                                               ___ Other:



              /s/ Abby Taylor
Deputy Clerk: ______________________       336-332-6000
                                     Phone:___________________                               03/17/22
                                                                                       Date:_________________

03/2011


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